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UNITED STATES DISTRICT COURT Index No. 06-CV-1083 (GLS/RTF)
NORTHERN DISTRICT OF NEW YORK (ECF CASE)

DAVID PRICE, as a candidate for the position for Albany County Republican
Comitteeman from the 14” Ward 6" District, City of Albany; THE ALBANY
COUNTY REPUBLICAN COMMITTEE, MARTHA McMAHON, and
JAMES THORNTON, Absentee Voters
-Plaintiffs,
-against-

THE ALBANY COUNTY BOARD OF ELECTIONS, THE NEW YORK
STATE BOARD OF ELECTIONS, NEIL W. KELLEHER (in his official
capacity as a Commissioner of the New York State Board of Elections),
DOUGLAS A. KELLNER (in his official capacity as a Commissioner of the
New York State Board of Elections), EVELYN J. AQUILA (in her official
capacity as a Commissioner of the New York State Board of Elections), and
HELENA MOSES DOHOHUE (in her official capacity as a Commissioner of
the New York State Board of Elections),
-Defendants,

Defendant State Board of Elections Response to
Plaintiff’s Rule 7 Statement of Material Facts

Defendants, by their attorney, submit that the following response to plaintiffs Rule 7

Statement of material facts:

1. Oppose the statements contained in Plaintiffs’ Paragraphs numbered, 2, 3, 4, 5, 6, 7, 8, 9,
10, 11, 12, 13, 14,15, 16, 31, 32, 33, 34, 35, 36, and 37, as these are statements based

upon an attomey affirmation.

2. To the extent that any response is made to Plaintiffs’ Paragraph number 2, respectfully
refer the Court to the relevant county party rules and New York State Election Law
section 2-104 for an accurate depiction of the contents thereof and deny the statement to

the extent it departs therefrom.
10.

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To the extent that any response is made to Plaintiffs’ Paragraph number 4, respectfully
refer the Court to New York State Election Law section 2-106 for an accurate depiction

of the contents thereof and deny the statement to the extent it departs therefrom.

To the extent that any response is made to Plaintiffs’ Paragraph number 5, respectfully
refer the Court to the relevant county party rules and New York State Election Law
section 2-106 for an accurate depiction of the contents thereof and deny the statement to

the extent it departs therefrom.

To the extent that any response is made to Plaintiffs’ Paragraph number 6, respectfully
refer the Court to New York State Election Law section 2-106 for an accurate depiction

of the contents thereof and deny the statement to the extent it departs therefrom.

To the extent that any response is made to Plaintiffs’ Paragraph number 7, respectfully
refer the Court to New York State Election Law section 6-118 for an accurate depiction

of the contents thereof and deny the statement to the extent it departs therefrom.
To the extent that any response is made to Plaintiffs’ Paragraph number 8, respectfully
refer the Court to New York State Election Law section 7-114(1)(d) for an accurate

depiction of the contents thereof and deny the statement to the extent it departs therefrom.

To the extent that any response is made to deny the allegations contained in Plaintiffs’

Paragraph number 9 because there is no factual foundation to support the assertion.

To the extent that any response is made to deny the allegations contained in Plaintiffs’

Paragraph number 10 because there is no factual foundation to support the assertion.

To the extent that any response is made to Plaintiffs” Paragraph number 13, respectfully
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refer the Court to New York State Election Law section 7-114(1)(d) for an accurate

depiction of the contents thereof and deny the statement to the extent it departs therefrom.

11. To the extent that any response is made to Plaintiffs’ Paragraph number 15, respectfully
refer the Court to New York State Election Law section 7-114(1)(d) for an accurate

depiction of the contents thereof and deny the statement to the extent it departs therefrom.

DATED: July 30, 2007
Albany, New York

TODD D. VALENTINE (Bar Roll No. 507572)

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Elections

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